Case 2:05-cr-20262-.]TF Document 8 Filed 07/27/05 Page 1 of 2 Page|D 11

 

 

 

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IN THE UNrTED sTATEs DrsTRICT COURT ` ` " '
FOR THE WESTERN nrsTchT 0F TENNESSEE 55 u:;_,y ?7 P t
WESTERN DIVISION ` ‘ tr l -' f 3
UNITED sTATEs on AMERICA U'""`
v. 05-20262_3
CHRISToPHER MACKLIN
0RI)ER oN ARRAIGNMENT

 

 

/
This cause came to be heard on C)M/£{/i CQ -Z 5 00»,)the United States Attorney

for this district appeared on behalf of the goWrnme€, and the defendant appeared in person and With
counsel:

NAME F;<»(/L(g“ wax/nu Who is Retained/Appointed.

The defendant, through counsel, Waived formal arraignment and entered a plea of not guilty.

 

All motions shall be filed Within thirty (30) days from the date hereof unless, for good cause
shown to a District Judge, such period is extendedl

/ The defendant, Who is not in custody, may stand on his present bond.
The defendant, (not having made bond) (being a state prisoner) (being a federal prisoner)
(being held Without bond pursuant to BRA of 1984), is remanded to the custody of the U. S. Marshal.

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UNITED STATES MAGISTRATE JUDGE

 

CHARGES: 18:922(g); 21:841;

U. S. Attorney assigned to Case: S. Hall

Age: 35

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UNITED STATES DISTRICT COURT - WESTERN DISTRICT OF TENNESSEE

Notice of Distribution

This notice confirms a copy ofthe document docketed as number 8 in
case 2:05-CR-20262 Was distributed by faX, mail, or direct printing on
July 28, 2005 to the parties listed.

 

 

Stephen P. Hall

U.S. ATTORNEY'S OFFICE
167 N. l\/lain St.

Ste. 800

l\/lemphis7 TN 38103

Honorable J. Breen
US DISTRICT COURT

